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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

                                                )
STATE OF TEXAS, et al.,                         )
                                                )
               Plaintiffs,                      )
                                                )
        v.                                      )   Case No. 1:18-CV-68
                                                )
UNITED STATES OF AMERICA, et al.,               )
                                                )
               Defendants,                      )
                                                )
and                                             )
                                                )
KARLA PEREZ, et al.,                            )
                                                )
               Defendant-Intervenors,           )
and                                             )
                                                )
STATE OF NEW JERSEY                             )
                                                )
               Defendant-Intervenor.            )
                                                )

                      DEFENDANT-INTERVENORS’ MOTION TO
                   CONTINUE HEARING SET FOR DECEMBER 22, 2020
                       OR TO HEAR ARGUMENT REMOTELY

      I. STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

        Defendant-Intervenors Karla Perez, et al. (“Perez Defendant-Intervenors”) and Defendant-

Intervenor New Jersey (together with the Perez Defendant-Intervenors, the “Defendant-

Intervenors”), submit this motion pursuant to Rule 4 of the Court’s Civil Procedures, and

respectfully request that the Court continue until a date after January 4, 2021, the hearing on

Plaintiffs’ and Perez Defendant-Intervenors’ motions for summary judgment, which is currently

set for December 22, 2020, see Dkt. 506, or in the alternative hear argument on December 22

remotely.
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   II. SUMMARY OF THE ARGUMENT

       For both substantive and procedural reasons, Defendant-Intervenors respectfully suggest

that the Court would be better served to hold argument in January, on a date after January 4, by

which point the parties could have provided status update regarding the implications of a recent

order issued in another litigation relevant to the issues to be decided by the Court, and at which

point travel for an in-person hearing would not require participants to quarantine over the holidays.

       First, the United States District Court for the Eastern District of New York in Batalla Vidal

v. Wolf has issued rulings, and the Federal Defendants have made filings in connection with those

rulings, that raise additional uncertainty as to DACA’s current status and what, if any, implications

those developments might have for the issues pending before this Court. The Eastern District of

New York recently issued an order vacating the Wolf Memo, but that order did not preclude the

Department of Homeland Security from issuing further memoranda, if done in a procedurally

proper fashion. See Order, Batalla Vidal v. Wolf, No. 16-cv-4756 (NGG) (VMS), Dkt. 354 at 1–

2, 4–5 (E.D.N.Y. Dec. 4, 2020) (attached as Exhibit 1). The Eastern District also directed Federal

Defendants to submit a status report by January 4, 2021, which will clarify the present practice of

Federal Defendants with respect to DACA. Id. at 4–5. Although Federal Defendants made passing

reference to the Eastern District’s decision before that court issued its order vacating the Wolf

Memo, Dkt. 527 at 1 n.1, they have not directly addressed the order or its potential implications

for this case. Continuing the hearing until after January 4 would provide the Court and the parties

the information they need to understand how Federal Defendants are presently implementing

DACA, and to address its potential implications for the present litigation.

       Second, in light of the ongoing COVID-19 pandemic, an in-person hearing, requiring the

attendance of counsel of record from all over the country, days before the holidays, could put

counsel and their families at risk, or require counsel to isolate from their families in accordance



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with quarantine recommendations or mandates when they return to their home states. In recent

days, COVID-19 cases have increased dramatically in Harris County and nationwide, causing the

Centers for Disease Control and Prevention (“CDC”) to highlight the risks of domestic travel and

to urge individuals to postpone trips and local jurisdictions to impose restrictions on those who do

undertake travel. Continuing the hearing until after January 4 would reduce the potential risk and

disruption to counsel and their families, and would ensure that counsel are able to abide by CDC

recommendations and various quarantine requirements and recommendations.

        In the alternative, if the Court determines not to adjourn argument on the parties’ cross-

motions for summary judgment, Defendant-Intervenors request that the Court conduct the

argument remotely, so that all counsel may participate without the need to quarantine themselves

from their families over the holidays.

III.    ARGUMENT

        A.     Continuing the Hearing Would Allow Federal Defendants to Provide
               Additional Information about DACA’s Implementation

        Federal Defendants’ implementation of DACA remains a moving target.                 Federal

Defendants previously informed this Court that, pursuant to the Wolf Memo, DHS was actively

considering the “important policy questions that must be addressed regarding how to address the

existing DACA program and the interests of people who have relied upon it.” Dkt. 501 at 12. In

Batalla Vidal, following an order finding that Acting Secretary Wolf had not been validly

appointed, Federal Defendants agreed that the Wolf Memo should be vacated and that “the relevant

[DACA] processing criteria will be governed by the last DACA-related memorandum that will be

left standing—currently, the Napolitano Memorandum that was issued in June 2012.” See Defs.’

Resp. to Pls.’ Mot. for Partial Summary J., Batalla Vidal v. Wolf, No. 16-cv-4756 (NGG) (VMS),

Dkt. 350, at 1, 7 (Dec. 1, 2020) (attached as Exhibit 2). At the same time, Federal Defendants




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opposed relief in Batalla Vidal that would “judicially freez[e]” DACA “as it existed prior to

September 5, 2017,” id. at 8, and requested that the Batalla Vidal court “remand to the agency for

further proceedings.” Id. at 1.

        The United States District Court for the Eastern District of New York subsequently issued

an order vacating the Wolf Memo and restoring the implementation of DACA pursuant to the June

2012 Napolitano Memorandum. See Order, Batalla Vidal v. Wolf, No. 16-cv-4756 (NGG) (VMS),

Dkt. 354 at 2 (E.D.N.Y. Dec. 4, 2020). The order did not, however, prevent Federal Defendants

from adopting a new policy consistent with law. Id. at 1–2, 4–5 (vacating Wolf Memo only

because “Mr. Wolf was without lawful authority to serve as Acting Secretary of DHS” and not

enjoining future memoranda). The court ordered the Federal Defendants to file, by January 4,

2021, a report detailing, among other data, how many first-time DACA applications, renewal

requests, and advance parole requests Federal Defendants received, adjudicated, approved, denied,

and rejected from November 14, 2020, until December 31, 2020, and how many first-time DACA

applications and advance parole requests Federal Defendants received and rejected pursuant to the

Wolf Memo. See id. at 4–5. It is at present unclear whether and to what extent Federal Defendants

intend to continue to “limit” DACA to “mitigate” their “serious concerns,” Dkt. 504-2, Ex. 3 at 5,

as they did under the Wolf Memo; whether Federal Defendants continue to analyze the “important

policy choices” identified by the Supreme Court in Regents, 140 S. Ct. 1891, 1910 (2020); and

how Federal Defendants are implementing DACA now. These facts, and the Federal Defendants’

plans for DACA moving forward, will become more clear after the Federal Defendants’ January

4 filing.

        Continuing the hearing until after January 4 would afford Federal Defendants time to

provide this Court and the parties the additional information they need to understand DACA’s




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current status, and to address the significance of that information on Federal Defendants’ merits

argument, as well as Defendant-Intervenors’ arguments regarding mootness and justiciability.

       B.      Continuing the Hearing until after the Holidays Would Reduce COVID-
               Related Risks to Counsel and Their Families

       COVID-19 case counts in Harris County are high, and continuing to rise. See Harris

County/Houston COVID-19 Cases, https://harriscounty.maps.arcgis.com/apps/opsdashboard/

index.html#/c0de71f8ea484b85bb5efcb7c07c6914 (last visited Dec. 5, 2020).               Since the

beginning of November, Harris County has generally reported between 500 and 1,000 new

COVID-19 cases each day, with even higher numbers in recent weeks. See id. The United States

District Court for the Southern District of Texas has recognized that the “current increase in

COVID-19 cases has increased the risks to public health,” and the Court continued jury trials in

Houston until at least January 19, 2021, as a result. In re: Court Operations in the Houston and

Galveston Divisions under the Exigent Circumstances Created by the COVID-19 Pandemic,

Special Order H-2020-24 (S.D. Tex. Nov. 19, 2020).

       Because of increasing COVID-19 case counts not just in Harris County, but nationwide,

the CDC has also recently advised against traveling. See CDC, Domestic Travel During the

COVID-19       Pandemic       (Dec.     2,     2020),     https://www.cdc.gov/coronavirus/2019-

ncov/travelers/travel-during-covid19.html (attached as Exhibit 3). To attend the hearing on

December 22, however, counsel would be required to travel to Houston from across the country

and attend a meeting indoors, which could run contrary to CDC guidance and put counsel, and

ultimately counsel’s families, at risk. According to the CDC, “[t]ravel can increase your chance

of spreading and getting COVID-19,” particularly if “cases [are] high or increasing in your . . .

destination.” Id. (emphasis in original). As a result, “[p]ostponing travel and staying home is the

best way to protect yourself and others from COVID-19.” Id. (emphasis in original).




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         The present timing of the hearing, just before the holidays, further increases the risk that

counsel could unintentionally spread COVID-19 to their families, and requires counsel to isolate

or quarantine to protect vulnerable family members during a time when many families gather for

religious observances. Many states from which counsel will likely arrive in Houston would

recommend or even require that counsel quarantine or isolate upon their return.1 These quarantine

recommendations or requirements could prevent counsel from safely spending time with family

during the holiday. And even if counsel’s home states do not require them to quarantine or isolate,

counsel may be reluctant to put family members—particularly family members who are elderly or

otherwise vulnerable to COVID-19—at an increased risk because of counsel’s travel. Continuing

the hearing until January would reduce these public health risks and potential disruptions. If the

hearing takes place in January, counsel can comply with travel-related quarantine

recommendations and requirements without isolating themselves from family during the holidays.

         C.       If the Hearing Is Held on December 22, Holding It Remotely Would Allow
                  All Counsel to Participate and Reduce COVID-Related Risks to Counsel and
                  Their Families

         If the Court is not inclined to postpone the hearing on the grounds above, Defendant-

Intervenors respectfully request that the Court conduct the December 22, 2020, hearing using

telephone or video conferencing. “The use of telephone or video conferencing in [ ] proceedings


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   See, e.g., Washington, D.C., Travel Status Update, https://washington.org/dc-information/coronavirus-travel-
update-washington-dc (“DC residents returning to the District after traveling to any place other than Maryland,
Virginia or a low-risk state or country must limit daily activities and self-monitor for 14 days upon their return OR
limit daily activities until they get tested for COVID-19 (approximately 72 hours after their return) and receive a
negative result.”); New Jersey, Are there travel restrictions to or from New Jersey?, https://covid19.nj.gov/faqs/nj-
information/travel-and-transportation/are-there-travel-restrictions-to-or-from-new-jersey     (recommending        that
individuals postpone business travel to the extent possible, follow CDC guidance, and self-monitor for symptoms
upon their return); Maryland Department of Health, Notice – COVID-19 Advisory – Large Gatherings, Essential
Travel,       Nursing        Homes        and     Assisted      Living       Programs       (Nov.     10,       2020),
https://phpa.health.maryland.gov/Documents/2020.11.10.03_MDH_Advisory_Large_Gatherings_Travel_Long_Ter
m_Care_Visitation.pdf (recommending that Marylanders “refrain from non-essential travel outside Maryland” and
strongly recommending that “[a]ny Marylander who travels to a state with a COVID-19 test positivity rate above 10%
or with a case rate over 20 per 100,000 in the past 7 days should get tested and self-quarantine at home until the test
result is received”).




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is encouraged when feasible, deemed appropriate by the presiding judge, and permitted by legal

and technology constraints.” In re: Court Operations in the Houston and Galveston Divisions

under the Exigent Circumstances Created by the COVID-19 Pandemic, Special Order H-2020-24

¶ 4 (S.D. Tex. Nov. 19, 2020) (emphasis added); see also In re: Public Reopening of the U.S.

Courthouse in Brownsville, Texas, Special Order B-2020-09 (S.D. Tex. Sept. 30, 2020) (noting

that “[t]he court will continue to utilize remote or virtual proceedings when feasible and in the

interests of justice”). Because this case involves counsel of record from across the country, the

risks of holding an in-person hearing are heightened, and a telephone or video conference hearing

would reduce these risks. Some counsel who would otherwise appear would not be able to

participate if the hearing is held in person on December 22 due to personal health concerns related

to COVID. (This alternative would not, however, address the first reason Defendant-Intervenors

request a continuance, discussed supra).

                                            CONCLUSION

       For the foregoing reasons, Defendant-Intervenors respectfully request that the Court vacate

the December 22, 2020, hearing date and continue the hearing until after January 4, 2021, or

conduct the hearing remotely, by telephone or video.

Dated: December 7, 2020                              Respectfully Submitted,


                                                     MEXICAN AMERICAN LEGAL
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                                                   Attorneys for Defendant-Intervenor State of
                                                   New Jersey


                           CERTIFICATE OF CONFERENCE

       I hereby certify that, on December 7, 2020, I conferred with counsel for the other

parties through email. Federal Defendants oppose continuing the hearing date, but agree to

the alternative relief of holding the hearing remotely. Plaintiffs oppose continuing the

hearing date and have requested that we note that Plaintiffs intend to appear for the hearing

in person unless the Court orders otherwise.

                                           /s/ Nina Perales
                                           Nina Perales
                                           Attorney for Perez Defendant-Intervenors



                              CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on December 7, 2020, I electronically filed

the above and foregoing document using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.



                                           /s/ Nina Perales
                                           Nina Perales
                                           Attorney for Perez Defendant-Intervenors




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